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AR ADC                                     MEDICAL PATIENT TREATMENT RECEIVED       PAGE:   81 of      233
REPORT NO. CHSR165 - 14                                                        PROCESSED: 02/07/2018 09:22 AM
                                               FROM: 02/01/2016 TO: 02/07/2018 REQUESTOR: Lorene Claibourne
NAME: Shipp, Craig Alan                             ADC#: 660878                         SSN:
RACE: Caucasian      GENDER: Male                   DATE OF BIRTH:                       AGE: 47

   DATE                                                         ENCOUNTER NOTES

  05/18/2016    TYPE: Hospital Admission (Doctor)                       LOCATION: Ouachita River Correctional Unit Hospital
 at: 02:31 PM   STAFF NAME: McKinney, Gregory Scott                     SETTING: Health Services Office

                  S
                       NOTES:

                       HPI:45 YO IM from ACC Texarkana that was sent to Ortho Clinic for Diabetic foot Ulcers and was admitted from Clinic
                       after Diabetic foot Ulcer on plantar surface of RLE was probed down to bone and had malodor. he was started on IV ABX
                       and taken to OR on HD#2 for debridement by Dr.Ruth Thomas and wound vac was placed and LLE was casted- ID was
                       consulted and recommended treating it as Osteomylitis eventhough MRI was Negative for Osteo-PICC line was placed and
                       was started on Vanconmycin 1250mg Q 12 and Zosyn but was changed to Levofloxacin 500mg PO QD and Flagyl 500mg
                       PO TID prior to transfer with Stop date of 6-24-16- Check weekly troughs with Goal of between 15-20. He also had was
                       was felt to be a Gouty Flare up of Right Knee with large effusion- He has had previous Arthroscopic Surgery on same
                       Knee. Pain well controlled on Hydrocodone 5/325mg PO QID-he had WV drerssing change last PM prior to arrival at
                       SNU and will next need to be Changed on Friday and then continue M-W-F schedule- I was called by Dr.Mathews at
                       UAMS and given report prior to transfer.
                       PMHX:DM type 2 dx 4 years ago
                       HTN
                       CKD Stage 2
                       DPN
                       Hammer toes
                       Diabetic Foot Ulcers
                       PSHX: Amputation Left Great Toe
                       Hammer toe repair
                       Arthroscopic Surgery R Knee
                       Debridement Diabetic Ulcer right foot
                       ALLERGIES:NKDA
                       Medications: correct in EOMIS MAR
                       FM HX: Mother-DM Cancer Father- DM,HTN CVA- siblings with CAD and DM
                       Social HX: HS Grad currently Disabled- Single 1 child- tobacco-smokless 1 can/day x 30 years, ETOH-ABUSE Denies
                       ilicit Drugs
                       ROS: 14 point ROS negative accept as stated in HPI
                 O     NOTES: WDWNWM in NAD A&Ox3 Pleasent and Cooperative- EOMI PERRLA anicteric sclera OC/OP clear MMM
                       Neck supple FROM Lungs CTA B Heart RRRsMGR(84) no ectopy ABD Soft NTND Pos BS no rebound or guarding
                       EXT LLE in Cast, RLE WOUND VAC Dressing in place good seal in Night Splint-Right Knee Swollen Pos effusion no
                       warmth or erythema Flex to 90 full extension TTP Popliteal Fossa no cyst felt -Moving all ext- Neuro CN 2-12 intact
                 A
                       NOTES:

                       SP Debridement Plantar Diabetic Foot Ulcer Mid Foot with presumed Osteomylitis with wound VAC
                       DM
                       HTN
                       Gout VS DJD right Knee with hx of old Meniscal tear
                  P    DRUP PRESCRIPTION: Docusate Sodium Cap
                           DOSAGE: 1 caps                  STRENGTH: 100MG
                           FREQ: Twice Daily                      FOR: 30 DAYS
                           ROUTE: By Mouth                      METHOD: Unit Dose
                           # REFILLS: 1 EXPIRATION DATE: 07/17/2016
                       LAB TEST ORDERED: Vancomycin Trough, Serum
                                         CMP13+LP+2AC+CBC/D/Plt
                       APPT SCHEDULED FOR:
                       Lab                        ON: 05/19/2016 AT: 08:00 AM                     WITH:


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AR ADC                                       MEDICAL PATIENT TREATMENT RECEIVED       PAGE:   82 of      233
REPORT NO. CHSR165 - 14                                                          PROCESSED: 02/07/2018 09:22 AM
                                                 FROM: 02/01/2016 TO: 02/07/2018 REQUESTOR: Lorene Claibourne
NAME: Shipp, Craig Alan                                ADC#: 660878                        SSN:
RACE: Caucasian      GENDER: Male                      DATE OF BIRTH:                      AGE: 47
                         Lab                                 ON: 05/19/2016 AT: 08:10 AM             WITH:
                         Hospital Admission (Doctor)         ON: 05/24/2016 AT: 12:30 PM             WITH: Univ of Ark Med Ctr, Staff
                         ACTION:     CATEGORY: Special Diets (Medical)              TYPE: 2600-2800 High Calorie Diet
                                     BEGIN DATE: 05/18/2016      END DATE: 05/17/2017

                         NOTES:

                         ADMIT SNU
                         DX:SP Debridement Plantar Diabetic Foot Ulcer Mid Foot with presumed Osteomylitis with wound VAC
                         Condition:GOOD
                         Nursing: Weekly weights/ VS q shift/ FSBS every Monday AM and PRN/ Wound VAC dressing Changes M-W-F/ PICC
                         Line care
                         LAB: CBC/CMP and Vanc trough every Monday/Thursday
                         ALLERGIES: NKDA
                         MEDICATIONS: Correct in EOMIS MAR
                         DIET: ADA High
                         Activity: WBAT LLE,NWB RLE up to Toilet/Pillow under right Knee and Ice PRN Keep RLE in Night Brace
                         Followup UAMS Ortho in 1 week
                  E      NOTES: Gave the inmate verbal instructions regarding the medical treatment that he is being given.
                         STANDARD FORM(S)              Special Diet Request                  DATE PREPARED: 05/18/2016
                                                       Lab Test Order                                                05/18/2016
                SCORE:     P: 1      U: 1      L: 1      H: 1       E: 1      M/H: 1     DNTL: 2       F: 0      B: 0     D: 0

                         RESTRICTION NOTES: None
                         REVIEW NOTES: noted
   DATE                                                           ENCOUNTER NOTES

  05/18/2016    TYPE: Medication Renewal                                   LOCATION: Ouachita River Correctional Unit Hospital
 at: 03:26 PM   STAFF NAME: McKinney, Gregory Scott                        SETTING: Health Services Office

                  S      NOTES: This encounter was system generated for a prescription drug order.
                  O      NOTES: None.
                  A      NOTES: None.
                  P      DRUP PRESCRIPTION: Hydrocodone-Acetaminophen Tab
                           DOSAGE: 1                   STRENGTH: 5-325MG
                           FREQ: Four Times a Day As Needed FOR: 30 DAYS
                           ROUTE: By Mouth                 METHOD: Crushed in
                           # REFILLS: 0 EXPIRATION DATE: 06/18/2016 Water/Watch
                                                                    Swallow
                         NOTES: None.

                  E   NOTES: None.
                SCORE: P: 1    U: 1            L: 1      H: 1       E: 1      M/H: 1     DNTL: 2       F: 0      B: 0     D: 0




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AR ADC                                       MEDICAL PATIENT TREATMENT RECEIVED       PAGE: 231 of       233
REPORT NO. CHSR165 - 14                                                          PROCESSED: 02/07/2018 09:22 AM
                                                 FROM: 02/01/2016 TO: 02/07/2018 REQUESTOR: Lorene Claibourne
NAME: Shipp, Craig Alan                                 ADC#: 660878                             SSN:
RACE: Caucasian      GENDER: Male                       DATE OF BIRTH:                           AGE: 47

   DATE                                                              ENCOUNTER NOTES

  08/09/2016    TYPE: Hosp In Patient Rounds (Doctor)                        LOCATION: Ouachita River Correctional Unit Hospital
 at: 03:01 PM   STAFF NAME: Vowell, Nannette L                               SETTING: Health Services Office

                   S
                        NOTES:

                        was to be paroled today - not all in order - will likely go tomorrow.
                        he just wants out.
                  O
                        NOTES:

                        awake and alert
                        wound vac was removed in prep for parole.
                        no increase work of breathing
                        CV RRR

                  A     NOTES: HTN
                        DM
                        HLD
                        NON Healing Right foot ulcer Since Feb 2016- 7/30/2016 MRI showed midfoot neuropathic joint, plantar ulcer no
                        abscess/osteomyelitis- chronic devitialized tissue overlying the cuboid bone along the lateral plantar surface
                                                                      7/30/2016 Wound culture ORSA + Strep. Pyrogenes ( OR microscopy &
                        cultre collected 8/2/2016 reported insufficient growth, reincubated which grew few staph aureus. No anaerobic growth,
                        No AFB
                                                                      Blood cultures no growth in 24 hours. 7/29/2016 Vanc+ zosyn
                        PICC Line inserted 8/4/2016

                        Excisional irrigation and debridement of the right foot ulcer to periosterum of cuboid+ wound vac placement on 8/1/2016

                        FULL CODE
                   P
                        NOTES:

                      parole soon.
                      meantime continue current plan.
                  E   NOTES: None.
                SCORE: P: 1        U: 1     L: 1      H: 1            E: 1       M/H: 1         DNTL: 2    F: 0    B: 0      D:




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AR ADC                                       MEDICAL PATIENT TREATMENT RECEIVED       PAGE: 233 of       233
REPORT NO. CHSR165 - 14                                                          PROCESSED: 02/07/2018 09:22 AM
                                                 FROM: 02/01/2016 TO: 02/07/2018 REQUESTOR: Lorene Claibourne
NAME: Shipp, Craig Alan                                 ADC#: 660878                          SSN:
RACE: Caucasian      GENDER: Male                       DATE OF BIRTH:                        AGE: 47

   DATE                                                             ENCOUNTER NOTES

  08/10/2016    TYPE: Hospital Discharge (Nurse)                            LOCATION: Ouachita River Correctional Unit Hospital
 at: 09:20 AM   STAFF NAME: White, Tara B                                   SETTING: Health Services Office

                   S
                         NOTES:

                         Pt states that he is ready to go home and understands his medication regimen.
                   O     NOTES: Pt sitting up in bed ready to be paroled out. A&O x3 with respirations even and unlabored. Wound vac to right
                         foot secure and in place, removed per physicians orders and wet to dry dressing applied. Wound vac kept here at ORCU to
                         be sent back to KCI. Pt is to receive treatment from home health after leaving ORCU. Medications sent with pt....pt states
                         he has no questions about medication regimen. Pt also has current scripts signed by the physician to take to the pharmacy
                         upon discharge. Pt left hospital in w/c with ADC staff with all belongings, stable condition with no s/s of acute pain or
                         distress noted.
                   A     NOTES: None.
                   P     NOTES: F/u with home health.

                  E   NOTES: Gave the inmate verbal instructions regarding the medical treatment that he is being given.
                SCORE: P: 1    U: 1      L: 1        H: 1       E: 1      M/H: 1       DNTL: 2        F: 0       B: 0           D:

                         RESTRICTION NOTES: None




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                                                  UAMS Hospital              Shipp, Craig A
                                                  4301 West Markham Street   MRN: 003128944, DOB:            Sex: M
                                                  Slot#524                   Encounter date: 9/28/201t:5
    (                                             Little Rock AR 72205
                                                  Amb Encounter Report




        Progress Notes (continued)
        Ruth L. Thomas, MD at 9/28/2016 1:00 PM (continu~d)




        Family History:
        Family History
        l=!t<~tb.l~rtl.~~~f"~<' .
         • Diabetes
         • Stroke
         • Diabetes


        CC is diabetic ulcers both feet. Treatment thus far has included serial casting, IV antibiotics, weekly trimming.
        Last week he elected to ry no cast and be NWB. Despite this plan he arrived today in SHOES both feet.


        PE:
(       Vital Signs:
        Filed Vitals:
        ~~~~~~rz~;hl;;·:~~~~~lZS11.B~;Jti53~
        BP:                 130/90
        Pulse:              94
        Temp:               98.2 °F (36.8 °C)

        General: Well developed, well nourished. Non-acute distress.
        Pyshyactric: Oriented to time, place and person. Alert. Mood and behavior appropriate for this visit.
        Vital Signs:
        Filed Vitals:
        ','!'~~E~~<tM~i::iifl~~:~12$l1J31L9.$$·
        BP:                 130/90
        Pulse:              94
        Temp:               98.2 °F (36.8 °C)

        Head: Normocephalic, atraumatic. Vision and healing intact.
        Neck: No obvious masses.
        Chest: Respirations are not labored.
        Right foot ulcer is plantar and centrolateral. Today it was measured at 27 X 32 mm Lower Extremity:
        Left foot ulcer is under the 1st MT head. He has no great toe on this foot. Debrided with beaver blade and
                                                      1
        measures 5 X 5 mm.

        With improvement over the last week he would now like to have the PICC line pulled.

(       A. Bilateral foot ulcers.
        P. Cast on the left. I participated in application and checking of cast. Boney prominences were appropriately
        protected and cast appropriately molded.
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